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                         APPENDIX B:
SUMMARY OF REASONS FOR TERMINATING EACH JUDGMENT
               (Ordered by Year Judgment Entered)
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                                   UNITED STATES v.
                                ATLANTIC COMPANY, et al.
                                   Civil Action No. 719


Year Judgment Entered: 1952

Section of Judgment Retaining Jurisdiction: 6

Description of Judgment: Defendants enjoined from, among other things, fixing prices,
engaging in predatory pricing, and allocating customers or markets for the sale of ice.

Reasons Judgment Should Be Terminated:
• Judgment more than ten years old.
• The five corporate defendants to which the Final Judgment applies appear to no longer be in
   business from a search of corporate records with the Georgia Secretary of State’s office. No
   information could be found on the two individual defendants from a search of publically
   available information.
• Judgment terms largely prohibit acts the antitrust laws already prohibit (price fixing, predatory
   pricing, and customer/market allocation).

Public Comments: None.




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                             UNITED STATES v.
                  HEYWARD ALLEN MOTOR COMPANY, INC., et. al.
                             Civil Action No. 771


Year Judgment Entered: 1971

Section of Judgment Retaining Jurisdiction: VIII

Description of Judgment: Defendants enjoined from, among other things, fixing prices for parts
and/or labor for auto repairs.

Reasons Judgment Should Be Terminated:
• Judgment more than ten years old.
• Seven of eleven corporate defendants appear to no longer be in business from a search of
   corporate records with the Georgia Secretary of State’s office.
• Judgment terms largely prohibit acts the antitrust laws already prohibit (price fixing).

Public Comments: None.




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                               UNITED STATES v.
                     SOUTHEASTERN PEANUT ASSOCIATON, et al.
                               Civil Action No. 777


Year Judgment Entered: 1973

Section of Judgment Retaining Jurisdiction: VIII

Description of Judgment: Defendant enjoined from, among other things, (1) fixing the
commission or fee paid to brokers of shelled peanuts, (2) restricting the use of credit in
sales of shelled peanuts, and (3) boycotting or urging any of its members to boycott any
broker of shelled peanuts.

Reasons Judgment Should Be Terminated:
• Judgment more than ten years old.
• Sole defendant no longer appears to be in business from a search of corporate records with the
   Georgia Secretary of State’s office.
• Judgment terms largely prohibit acts the antitrust laws already prohibit (price fixing, group
   boycotts).

Public Comments: None.




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                                      UNITED STATES v.
                                      TOM’S FOODS LTD.
                                   Civil Action No.: 75-28-COL



Year Judgment Entered: 1975

Section of Judgment Retaining Jurisdiction: IX

Description of Judgment: Defendant, a manufacturer of snack foods, enjoined from, among
other things, agreeing with any competitor to restrict or interfere with the sale of such products
to distributors or to restrict, fix, or interfere with the prices paid by distributors for such
products.

Reasons Judgment Should Be Terminated:
• Judgment more than ten years old.
• Judgment terms largely prohibit acts the antitrust laws already prohibit (price fixing).

Public Comments: None.




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